   Case 24-31355        Doc 2     Filed 05/24/24 Entered 05/24/24 11:25:38          Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA


IN RE: Strategic Pork Solutions, LLC                          CASE NO. 24-31355
                            Debtor(s).                        CHAPTER 11



                 NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE

      Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the following

qualified individual as Subchapter V trustee in the above-captioned case:

                                         Mary F. Sieling
                                 150 South Fifth Street, Suite 3125
                                     Minneapolis, MN 55402
                                      mary@mantylaw.com


      The trustee’s verified statement of disinterestedness and anticipated rate of compensation

is attached to this notice.



Date: May 24, 2024                            Mary R. Jensen
                                              Acting United States Trustee
                                              Region 12

                                              By: /s/ Robert B. Raschke_______
                                                  Assistant United States Trustee
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                         UNITED STATES BANKRUPTCY COURT
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                  VERIFIED STATEMENT OF SUBCHAPTER V TRUSTEE

        In connection with the United States Trustee’s Notice of Appointment of me as Subchapter

V trustee in this proceeding, I hereby verify that I am a “disinterested person” as defined by 11

U.S.C. §101(14) in that I:

               (a)     am not a creditor, equity security holder or insider of the debtor;

               (b)     am not, and was not, within two years before the date of filing of the
                       petition, a director, officer, or employee of the debtor; and

               (c)     do not have an interest materially adverse to the interest of the estate or of
                       any class of creditors or equity security holders, by reason of any direct or
                       indirect relationship to, connection with, or interest in, the debtor, or for
                       any other reason.

        Subject to court approval pursuant to 11 U.S.C. § 330, I anticipate seeking compensation

for my service in this case at a hourly rate of $330.00 and paralegal time will be billed at $200.00

an hour, in addition to seeking reimbursement for any actual and necessary expenses I incur.

        I hereby accept my appointment as subchapter V trustee in this case pursuant to FRBP

2008.



Dated: May 24, 2024                                   /s/ Mary F. Sieling
                                                      Mary F. Sieling (#389983)
                                                      150 South Fifth Street, Suite 3125
                                                      Minneapolis, MN 55402
                                                      Phone: (612) 465-0901
                                                      Email: mary@mantylaw.com

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